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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

GALAWEZH SHOWAN,               )
                               )
               Plaintiff,      )
                               )               CIVIL ACTION FILE NO.
vs.                            )               1:16-cv-00468-ODE
                               )
PATRICK PRESSDEE               )
and KRISPY KREME DOUGHNUT )
CORPORATION                    )
                               )
Defendants.                    )
_______________________________)


                     DEFENDANTS’ MOTION IN LIMINE

      COME NOW, Krispy Kreme Doughnut Corporation and Patrick Pressdee,

Defendants in the above-captioned case, and hereby move the Court for an Order

in Limine prohibiting, excluding, limiting, and suppressing any and all evidence,

proffers, tender, comments, statements, testimony, colloquy, or any other utterance

in the presence of the jury in the following particulars:

          1. PHOTOGRAPHS OF GALAWEZH SHOWAN TAKEN
             SHORTLY AFTER THE ACCIDENT

      Defendant anticipates that the plaintiff will attempt to introduce photographs

of plaintiff’s face shortly after the accident showing a bloody cut. However, at

issue in this case is proximate causation of the plaintiff’s spine pain, headaches and

left wrist pain, none of which is evidenced by the inflammatory facial photographs.
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To be admissible the photographs that the plaintiff may seek to introduce must be

relevant. Fed. R. Evid. 402. The most acceptable test for relevancy is whether the

evidence offered renders the existence of any fact that is of consequence to the

determination of the action more probable than it would be without the evidence.

Fed. R. Evid. 401. Even if relevant, however, the photographs may still be

excluded.

      If the court determines that such photographs have some probative value,

then the court must balance the probative value against the prejudice that

introducing the photographs would cause defendants. Fed. R. Evid. 403; Cornelius

v. Macon-Bibb County Hospital Authority, 243 Ga. App. 480, 533 S.E.2d 420

(2000). Any probative value of photographs of the facial laceration is substantially

outweighed by the inflammatory effect such photographs would have on a jury.

Photographs showing Mrs. Showan’s bloody face will certainly arouse the

sympathy of the jury and, thereby, distract them from the substantial issues of

proximate causation as to her claims of spine pain. The only reason to introduce

such photographs is to inflame the jury. This is especially true because information

regarding Mrs. Showan’s injuries can be gleaned from testimony and medical

records. Accordingly, the use of inflammatory photographs is improper and should

not be permitted.
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          2. ANY EVIDENCE RELATING TO THE EXISTENCE OF
             LIABILITY INSURANCE.

      Plaintiff should be precluded from introducing any evidence relating to the

existence of liability insurance in this case. Federal Rule of Evidence 411 prohibits

admission of “[e]vidence that a person was . . . insured against liability” in order

“to prove whether the person acted negligently or otherwise wrongfully.” While

Rule 411 allows admission of insurance evidence in order to show things like

ownership and control, none of these exceptions to the general rule barring

insurance evidence apply here. Along this same line, plaintiff should be prohibited

from presenting any evidence of insurance payments for property damage.

          3. ANY EVIDENCE REGARDING THE PARTIES’ FINANCIAL
             STATUS, WORLDLY CIRCUMSTANCES, NET WORTH,
             ASSETS AND FINANCIAL HOLDINGS.

      Plaintiff should be precluded from eliciting any testimony, question, or

statement regarding the worldly circumstances of the parties. Relevance requires

that evidence have a tendency to “make the existence of any fact that is of

consequence to the determination of the action more probable or less probable than

it would without the evidence.” Fed. R. Evid. 401. Evidence that does not meet

this test for relevance is not admissible. Fed. R. Evid. 402. In the instant case, the

parties’ financial worth is not at issue and is therefore not relevant.

      The general rule is that during trial no reference should be made to the

wealth or poverty of the parties, nor should the financial status of the parties be
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contrasted. Brough v. Imperial Sterling Ltd., 297 F.3d 1172 (2002). This includes

evidence of Plaintiff’s financial circumstances, financial burdens, or poor financial

situation. The party’s standard of living, income, and fees are all irrelevant to this

litigation and not a proper subject of evidence before the jury. Accordingly,

defendant respectfully requests an order from the Court prohibiting the plaintiff

from eliciting evidence of the worldly circumstances of the parties during trial.

          4. PLAINTIFF AND HER COUNSEL SHOULD BE PROHIBITED
             FROM EXPRESSING ANY PERSONAL BELIEF IN THE
             VERACITY OF ANY WITNESS OR EVIDENCE.

      Plaintiff’s counsel may not express their own opinion or belief on the issues

or the evidence, nor may counsel personally vouch for the veracity of a witness in

his argument. United States v. Knowles, 66 F.3d 1146 (11th Cir. 1995). Plaintiff,

her counsel, and all witnesses should be barred from making any of the above

statements regarding their personal belief in the veracity of a witness, or opinions

toward the facts or the evidence during any part of the trial, including but not

limited to the opening statement, presentation of evidence, or closing argument.

          5. PLAINTIFF AND HER COUNSEL SHOULD BE PROHIBITED
             FROM MAKING ARGUMENTS TO SEND A MESSAGE TO
             THE DEFENDANT.

      Any remark that suggests damages should be awarded in a case for the

purpose of punishing the Defendant or for the purpose of setting an example in

order to influence the Defendant’s conduct in the future are inappropriate and
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highly prejudicial. Neal v. Toyota Motor Corp., 823 F. Supp. 939 (N.D. Ga.

1993). Such highly inflammatory and prejudicial statements should be properly

precluded from being made to the jury at any point during trial.

          6. EVIDENCE REGARDING THE MANNER OF LITIGATION
             UP TO THE TIME OF TRIAL.

       No party to this lawsuit should be permitted to “litigate the litigation” rather

than the relevant disputed issues. Such efforts might take a variety of forms,

including references to disputes before trial, including discovery disputes, motions,

and court orders on discovery or motions in limine. No party may attempt to

insinuate or argue that another party has acted deliberately to obstruct or delay the

litigation. Attempting to demonize the opposing party in the presence of the jury is

not a trial tactic that should be tolerated.

       Evidence of discovery disputes and peripheral pre-trial disputes are not

admissible at trial. Evidence which is not relevant is not admissible. Fed. R. Evid.

402. Relevant evidence means evidence having any tendency to make the

existence of any fact that is of consequence to the determination of the action more

probable or less probable than it would be without the evidence. Fed. R. Evid. 401.

Neither the conduct of discovery, nor tangential litigation issues or insinuations

that any party acted to delay this case, either directly or indirectly, is relevant at

this trial. Therefore, this Court should exclude all such evidence.
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      Moreover, evidence of a party’s legitimate attempts to engage in discovery,

exclude evidence, take or postpone depositions, file objections to discovery, or

pursue any other pre-trial motion is not only irrelevant to the issues at trial, but is

highly distracting to the jury and unfairly prejudicial. Discovery objections and

peripheral litigation can leave the jury with the impression that the objecting party

is attempting to conceal unfavorable evidence or to unnecessarily delay the

litigation. The party cannot cure this severe prejudice simply by explaining the

reasons behind the objection or motion because the jury, being composed of

laypersons, is in a poor position to understand pre-trial tactics. Even relevant

evidence can be excluded if its probative value is substantially outweighed by the

danger of unfair prejudice, confusion of the issues, or is misleading to the jury.

Fed. R. Evid. 403. “Evidence” of the history of this litigation is clearly not

relevant and carries with it the danger of unfair prejudice, confusion of the issues,

and will mislead the jury.

      Accordingly, defendants respectfully request a ruling to exclude any

reference to disputes before trial, including discovery disputes, motions, and court

orders on discovery or motions in limine.
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          7. WITNESSES NOT PREVIOUSLY IDENTIFIED

      Defendant move in limine to prevent plaintiff from presenting by argument,

comment or other means in front of the jury testimony from witnesses not

previously identified in the Plaintiff’s portion of the pretrial order.

          8. DOCUMENTS NOT PREVIOUSLY IDENTIFIED AND
             PRODUCED.

      Defendants move in limine to prevent plaintiff from presenting by argument,

comment or other means in front of the jury any documents not previously

identified and produced in the Plaintiff’s portion of the pretrial order.

          9. ANY EVIDENCE OF SETTLEMENT DISCUSSION,
             NEGOTIATIONS OR REFERENCES TO SETTLEMENT
             WITH PLAINTIFF SHOULD BE EXCLUDED

      Admissions or propositions made with a view to a compromise of settlement

are not proper evidence for trial, and proposals made with view toward

compromise are not proper evidence. Fed. R. Evid. 609; Fed. R. Evid. 403. The

Court should exclude testimony or any document containing an offer of

compromise and settlement. The plaintiff’s attorney and all witnesses in the case

should be instructed not to mention or reference settlement negotiations,

settlements or settlement discussions in this case.

          10.THE PLAINTIFF SHOULD BE PRECLUDED FROM MAKING
             ANY REFERENCE TO PLAINTIFF’S REQUIREMENT TO
             PAY ATTORNEY’S FEES
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      In arriving at its verdict, it is of no concern to the jury what attorney’s fees,

or other expenses might have to be paid out of the recovery. SCL v. Thomas, 125

Ga. App. 716, 188 S.E.2d 891 (1972).

          11.INVOKING THE RULE OF SEQUESTRATION

      Defendant requests the court to “invoke the rule,” requiring sequestration of

plaintiff’s witnesses, including barring the witnesses from the courtroom while

Plaintiff’s other witnesses are testifying; and to instruct Plaintiff’s witnesses not to

discuss their testimony with one another until they have been excused from further

appearance in court or the case has gone to the jury. O.C.G.A. § 24-6-615;

O’Kelley v. State, 333 S.E.2d 838 (1985).

          12.THE PLAINTIFF SHOULD BE PRECLUDED FROM
             PRESENTING ANY EVIDENCE TO THE JURY
             CONCERNING THE PLAINTIFF’S FINANCIAL OR FAMILY
             DIFFICULTIES IN PAYMENT OF MEDICAL EXPENSES

      Krispy Kreme objects to any attempt by plaintiff to testify or otherwise try to

present evidence to the jury concerning hardships and/or the difficulties plaintiff

and her family may have faced since the accident. The Plaintiff should be

precluded from presenting such evidence to the jury as “emotionalism and

sympathy” has no place at trial and “tends to destroy the impartiality” of the jury.

See Teasley v. State, 177 Ga. App. 554, 555, 340 S.E.2d 32 (1986).

      In Teasley v. State, the Georgia Court of Appeals found that the trial court

properly excluded “testimony concerning appellant's financial woes, marital
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difficulties, and sick child.” See id. In fact, when the appellant attempted to

introduce such evidence, the trial court instructed the jury that “emotionalism and

sympathy had no place in such a trial” and repeated this same instruction in the

final charge. In approving the trial court’s decision, the court of appeals cited to

the Georgia Supreme Court case of Styles v. State, 129 Ga. 425, 429, 59 S.E. 249

(1907), which noted that

             [a]nything not legitimately arising out of the trial of the
             case, which tends to destroy the impartiality of the juror,
             should be discountenanced. Whether beneficial to the
             State or to the accused, such things, upon the ground of
             irrelevancy, should be suppressed and not given the
             opportunity of influencing the minds or exciting the
             passions of the jurors. Verdicts should be the result of
             calm deliberation, founded upon the law and evidence.
             The accomplishment of that object can never be assured
             where irrelevant things which tend to destroy the
             impartiality of the jurors are allowed to creep into the
             trial.

177 Ga. App. at 555. The Georgia Court of Appeals followed the holding in Styles

and reaffirmed that one’s personal difficulties are not relevant to the issues being

tried, and only tend to inject into trial “an improper element of emotionalism.”

      Following the Georgia Court of Appeals and Georgia Supreme Court’s

decisions in Styles and Teasley, the Plaintiff should be precluded from presenting

evidence to the jury concerning the difficulties she might have faced since the

accident. To allow such evidence would only serve to destroy the impartiality of
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the jury. See Styles, 129 Ga. at 149; see also Teasley, 177 Ga. App. at 555.

Accordingly, Krispy Kreme moves to exclude such evidence.

          13.EXCLUDE REFERENCE TO OR EVIDENCE, TESTIMONY
             OR ARGUMENT ASKING THE JURY TO “SEND A
             MESSAGE.”

      Pursuant to Fed. R. Evid. 103 and 104, defendants request a pretrial ruling

excluding any argument that the jury should “send a message” to the defendants.

This court should preclude plaintiff from making any references in opening

statement, closing argument, or at any other point of the trial, that jury members

“send a message” to the defendants or act as the “conscience of the community” or

to consider similar and equally improper factors in determining whether to award

damages, or in determining the amount of damages to award. Such instructions are

inherently prejudicial because they, on their face, urge the jury to render its verdict

based on “passion and prejudice.” Honda Motor Co., Ltd. v. Oberg, 512 U.S. 415,

426 (1994). Because there is no place in this trial for such unfairly prejudicial

arguments, the court should preclude plaintiff’s counsel from offering them.

          14.TESTIMONY CONCERNING THE CONDITIONS AND
             CIRCUMSTANCES OF THE ACCIDENT SHOULD BE
             EXCLUDED WHERE LIABILITY IS ADMITTED
      Defendant has admitted to the negligence elements of duty and breach of

duty such that the remaining questions of proximate cause for damages remains.

Accordingly, the circumstances leading up to the accident, and the reasons for the

accident are irrelevant and therefore, inadmissible. Bradford v. Parrish, 111
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Ga.App. 167, 141 S.E.2d 125 (1965) (finding that the trial court correctly decided

to “not allow plaintiff's counsel to argue to the jury matters relating to the

negligence of the defendant” when the defendant previously admitted liability

because “[t]he only issue then remaining for the jury to determine was the nature

and extent of the plaintiff's injuries and the monetary damages to be awarded

plaintiff for those injuries.”)

          15.THE COURT SHOULD NOT ALLOW PLAINTIFF TO
             PRESENT EVIDENCE OF DEFENDANTS’ ORIGINAL
             DEFENSIVE PLEADINGS AND DISCOVERY RESPONSES.

       As made clear by the plaintiff’s Motion for Leave to Modify the Pretrial

Order, plaintiff seeks to “add several of Defendants’ prior pleadings as exhibits, in

light of Defendants’ recent amendments of their answers and the Court’s recent

Order.” However, as this request (1) exceeds the scope of the Court’s August 9,

2017 Order and (2) seeks a modification of the pretrial order to admit irrelevant

material which is highly prejudicial to the defendants.

       The Court’s August 9, 2017 Order states that “Defendants' original answer

will remain admissible at trial for impeachment purposes." [Doc. 87] (emphasis

added). To the extent that plaintiff seeks to admit “defensive pleadings” other than

“the original answer” or discovery responses, such material exceeds the scope of

the Order. So too does any attempt to introduce this evidence for purposes other

than impeachment. Not only does this go beyond the bounds of the Court’s Order
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but such material is utterly irrelevant. Fed. R. Evid. 402. Aside from impeachment

purposes, defendant’s original defensive pleadings and discovery responses do not

render the existence of any fact that is of consequence to the determination of the

action more probable than it would be without the evidence. Fed. R. Evid. 401.

      Accordingly, except for the admission of “defendant’s original answer” for

use as “impeachment” only, defendants move in limine to exclude admission of

any other defensive pleadings or discovery responses for non-impeachment

purposes.

      Respectfully submitted this 20th day of October, 2017.


                                            RUTHERFORD & CHRISTIE LLP



                                            /s/Carrie L. Christie
                                            Carrie L. Christie
                                            Georgia State Bar No. 125248
                                            Emily Y. Wang
                                            Georgia State Bar No. 873807
                                            225 Peachtree St., Suite 1750
                                            Atlanta, GA 30330
                                            Telephone: (404) 522-6888
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                IN THE UNITED STATES DISTRICT COURT
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                         ATLANTA DIVISION

GALAWEZH SHOWAN,                )
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               Plaintiff,       )
                                )        CIVIL ACTION FILE NO.
vs.                             )        1:16-cv-00468-ODE
                                )
PATRICK PRESSDEE                )
and KRISPY KREME DOUGHNUT )
CORPORATION                     )
                                )
Defendants.                     )
______________________________)

                        CERTIFICATE OF SERVICE

      This is to certify that I have on this date served all parties in the

above-referenced matter with a copy of the foregoing Defendants’ Motion in

Limine by depositing same in the United States Mail with adequate postage

thereon addressed as follows:

                            Edward M. Wynn, Esq.
                              James N. Sadd, Esq.
                             Slappey & Sadd, LLC
                           352 Sandy Springs Cir NE
                            Atlanta, Georgia 30328

      This 20th day of October, 2017.

                                         /s/ Carrie L. Christie
                                         Carrie L. Christie, Esq.
                                         Georgia Bar No. 125248
